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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                           CASE NO. 21-81099-CIV-CANNON/Reinhart

  D. P. et al.,

          Plaintiffs,
  v.

  SCHOOL BOARD OF PALM BEACH COUNTY et al.,

          Defendants.
                                                                /

                           ORDER GRANTING JOINT MOTION AND
                        RESETTING PRETRIAL AND TRIAL DEADLINES 1

          THIS CAUSE comes before the Court upon the parties’ Joint Motion for Extension of

  Deadlines (the “Joint Motion”) [ECF No. 107], filed on July 18, 2022. Following review of the

  record, the Court hereby GRANTS the Joint Motion [ECF No. 107] and resets the pretrial and

  trial deadlines in the following manner:

                                                 ***

          Trial in this matter is reset for the Court’s two-week trial calendar beginning on May 8,

  2023, at 9:00 a.m. Counsel for all parties shall appear at a calendar call on May 2, 2023, at 1:45

  p.m. Motions to Bring Electronic Equipment into the Courtroom must be filed one week in

  advance of the relevant hearing and must describe with specificity the electronic equipment

  intended for use in the courtroom. No pretrial conference will be held unless a party requests one

  at a later date and the Court determines that one is necessary. Unless instructed otherwise by

  subsequent order, the trial and all other proceedings in this case shall be conducted at the Alto Lee



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   This Order supersedes the deadlines set forth in the Court’s prior Scheduling Order [ECF No. 60].
  All other instructions in the Scheduling Order [ECF No. 60] remain in effect.
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  Adams, Sr. United States Courthouse, 101 South U.S. Highway 1, Courtroom 4008, Fort Pierce,

  Florida 34950. The parties shall adhere to the following schedule:

           Expired. The parties shall file motions to amend pleadings or join additional parties.

           November 11, 2022. The parties exchange expert witness summaries or reports.

           December 16, 2022. The parties exchange rebuttal expert witness summaries or reports.

           December 16, 2022. All discovery, including expert discovery, shall be completed.

           January 26, 2023. The parties must have completed mediation and filed a mediation
           report. Within five (5) days of mediation, the parties are required to file a mediation report
           with the Court. The mediation report shall indicate whether the case settled (in full or in
           part), whether it was adjourned, or whether the mediator declared an impasse. If mediation
           is not conducted, the case may be stricken from the trial calendar, and other sanctions may
           be imposed. 2

           January 27, 2023. The parties shall file all pre-trial motions, including motions for
           summary judgment, and Daubert motions. Each party is limited to filing one Daubert
           motion. If a party cannot address all evidentiary issues in a 20-page memorandum, it must
           petition the Court for leave to include additional pages. The parties are reminded that
           Daubert motions must contain the Local Rule 7.1(a)(3) certification. The parties are
           directed to review the Court’s procedure for the filing of summary judgment motions
           (set out below).

           April 7, 2023. The parties shall file the following materials:

               (1) a joint pre-trial stipulation pursuant to Local Rule 16.1(e);

               (2) a joint exhibit list and a joint trial plan in accordance with the Court’s templates
                   available at https://www.flsd.uscourts.gov/content/judge-aileen-m-cannon (under
                   “Civil Procedures” tab);

               (3) individually filed witness lists and deposition designations (and objections thereto
                   and counter designations);

               (4) joint proposed jury instructions and verdict; and

               (5) any motions in limine (other than Daubert motions). Each party is limited to
                   filing one motion in limine, which may not, without leave of Court, exceed the
                   page limits allowed by the Rules. The parties are reminded that motions in
                   limine must contain the Local Rule 7.1(a)(3) certification.

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      The parties are scheduled to conduct mediation on September 16, 2022 [ECF No. 67].


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        DONE AND ORDERED in Chambers at Fort Pierce, Florida this 20th day of July 2022.




                                                    _________________________________
                                                    AILEEN M. CANNON
                                                    UNITED STATES DISTRICT JUDGE

  cc:   counsel of record




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